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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                               Case No. 06-cr-40063-JPG

 MERVYN T. BUTLER,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on the Government’s Motion for Extension of Time

to Respond to Defendant’s Pro Se Motion for Fees. (Doc. 250). The Court, for good cause and

in its discretion, may extend the time in which a response is due. Fed. R. Civ. P. 6(b). Here, due

to the allegations contained in the Defendant’s Motion for Attorney’s Fees, an attorney other

than the Assistant United States Attorney who prosecuted the Defendant will be filing the

Government’s response. That attorney will need time to review the case and trial transcript

before filing a response. Therefore, the Court GRANTS the Motion for Extension of Time to

Respond (Doc. 250). The Government’s response is due on or before April 25, 2008.


IT IS SO ORDERED.
DATED: March 21, 2008
                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             DISTRICT JUDGE
